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4

5    Attorney for Defendant
     RICHARD ORSOUPHAKHETH
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8
                            IN THE UNITED STATED DISTRICT COURT
9
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                        ) Case No.: 1:07-cr-00268 OWW
12                                                    )
                    Plaintiff,                        ) STIPULATION TO EXTEND
13                                                    ) SURRENDER DATE AND ORDER
            vs.                                       )
14                                                    )
     RICHARD ORSOUPHAKEHETH,                          )
15                                                    )
                    Defendant.                        )
16
            It is hereby stipulated by and between the parties hereto, through their respective
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     attorneys of record, as follows:
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            The defendant in this matter has been sentenced and is scheduled to self-surrender on
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     June 18, 2010. As noted in a previously stipulation, the Bureau of Prisons has designated the
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     defendant to a facility in the state of Mississippi. Counsel has been pursuing a modification of
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     this designation due to the hardship that such incarceration would impose a significant hardship
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     on defendant’s family. After much effort, however, including consultation with a sentencing
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     specialist in San Francisco it has become obvious that the Bureau will not modify its designation
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     prior to the defendant’s arrival at the assigned institution, and my client will be required,
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     therefore, to travel to Mississippi to begin his sentence. This final extension is to allow him to
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     make arrangements for his family to be provided for and for him to travel to the designated
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1    institution to commence his sentenced. For this purpose, it is respectfully requested and

2    stipulated that the defendant’s surrender date be extended to July 16, 2010.

3    Dated: June 16, 2010

4                                                                           /s/ Carl M. Faller_____
                                                                            CARL M. FALLER
5
                                                                            Attorney for Defendant
6

7                                                                           BENJAMIN WAGNER
                                                                            United States Attorney
8

9
                                                   By                       /s/ Laurel J. Montoya_____
10                                                                          LAURAL J. MONTOYA
                                                                            Assistant U.S. Attorney
11                                                                          Attorney for the United States

12
            ORDER:
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14          Based upon the stipulation of the parties and good cause appearing, it is hereby

15   ORDERED that the defendant’s surrender date be extended until July 16, 2010, at the

16   designated institution or the United States Marshal’s Office in Fresno.
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21   IT IS SO ORDERED.

22      Dated:     June 18, 2010                                                 /s/ Oliver W. Wanger
                                                               UNITED STATES DISTRICT JUDGE
23                                                    DEAC_Signature-END:




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